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 Case: 2:22cv2344   Doc: 54




 Joseph Diaz Jr.
 250 North College Park Drive,   Unit il3
 Upland, CA 91786
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   Jane Doe v. Joseph Diaz Jr. Order on Motion for Default Judgment Content-Type: text/html

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                                UNITED STATES DISTRICT COURT

                              CENTRAL DISTRICT OF CALIFORNIA

   Notice of Electronic Filing
   The following transaction was entered on 3/23/2023 at 2:15 PM PDT and filed on 3/23/2023

    Case Name:              Jane Doe v. Joseph Diaz Jr.
    Case Number:            12:22-cv-02344-MEMF-GJSI
    Filer:
    Document Number:        �


   Docket Text:
   ORDER DENYING MOTION TO STRIKE[ECF NO.29] AND MOTION FOR DEFAULT
   JUDGMENT [ECF NO.37] by Judge Maame Ewusi-Mensah Frimpong.In light of the
   foregoing, the Court hereby ORDERS as follows: The Motion to Strike is DENIED as MOOT;
   The Motion for Default Judgment is DENIED; and The parties must meet and confer and file an
   amended Joint 26(f) Report within fourteen (14) days of this Order.The amended Report shall
   address all topics that are required by Court's operative Standing Order and Order Setting
   Scheduling Conference.Should the parties wish to amend the Civil Trial Order, they shall meet
   and confer and file an appropriate stipulation or application.IT IS SO ORDERED.(yl)

   2:22-cv-02344-MEMF-GJS Notice has been electronically mailed to:
   Rajan Olarita Dhungana rdhungana@fedpractice.com, docketclerk@fedpractice.com,
   clagarde@fedpractice.com
   2:22-cv-02344-MEMF-GJS Notice has been delivered by First Class U.S. Mail or by other
   means BY THE FILER to :
   Joseph Diaz
   250 N01th College Park Drive, Unit i13
   Upland CA 91786
   us
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 8                                 UNITED STATES DISTRICT COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
10
                                                      Case No.: 2:22-cv-02344-MEMF(GJSx)
11   JANE DOE,

12                                Plaintiff,          ORDER DENYING MOTION TO STRIKE
                                                      [ECF NO. 29] AND MOTION FOR
13                 v.                                 DEFAULT JUDGMENT [ECF NO. 37]

14
15   JOSEPH DIAZ JR.,
                                  Defendant.
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20          Before the Comi are the Motion to Strike (ECF No. 29) and Motion for Default Judgment

21   (ECF No. 37) filed by Plaintiff Jane Doe. For the reasons stated herein, the Court DENIES the

22   Motion to Strike and Motion for Default Judgment.

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27   III
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 1       I.        Background
 2                 A. Factual Background 1
 3            Defendant Joseph "Jojo" Diaz ("Diaz") is a fmmer world-champion boxer who has allegedly
 4   engaged in sexual activity with female minors. Compl. at 2. Diaz has sent unsolicited pictures of his
 5   genitalia through social media platfonns in order to solicit sexual activity with at least four female
 6   minors. Id.
 7            In 2010, Diaz began dating Plaintiff Jane Doe ("Doe")'s older sister. Id. 1 9.
 8            On September 3, 2020, Diaz sent an explicit photograph of himself, with his genitalia and
 9   face visible, to Doe, who was seventeen years old at the time.2 Id. 16. The explicit photograph was
10   sent through Snapchat, a social media application. Id.     1 7. Doe showed the explicit photograph to her
11   mother, who took a photograph of explicit photograph with another phone. Id. ,i 8; Id., Ex. A. Doe's
12   parents contacted Diaz's father, who confirmed that it was his son in the explicit photograph sent to
13   Doe but asserted that Diaz had mistakenly sent the photograph to Doe because he had been heavily
14   drinking the night before. Id. ,i 11.
15            On or around September 20, 2021, Doe filed a police report with the Los Angeles County
16   Sheriffs Department. Id. ,i 12. On or around November 30, 2021, the detective assigned to the case
17   called Doe's father. Id. ,i 13. According to the detective, Diaz admitted that the explicit photo was of
18   himself but claimed that his girlfriend had accessed his Snapchat account and sent the explicit
19   photograph to Doe. Id. The detective also told Doe's father that Diaz "seemed like a nice kid." Id. ,i
20   14. The Sheriffs Department ultimately concluded that the transmission of the explicit photograph
21   was a "mistake" and concluded their investigation. Id. ,i 14.
22                 B. Procedural Background
23            On April 7, 2022, Doe filed a complaint against Diaz, alleging two causes of action: (1)
24   Coercion and Enticement under 18 U.S.C. § 2422(b); and (2) civil remedy for personal injuries
25
26
     1
27     This factual background is taken from the allegations set forth in the Complaint. See generally ECF No. 1
     ("Compl.").
28   2
       Although the Complaint is not clear, it appears that Diaz and Doe's older sister were no longer dating by this
     time.


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 1   under 18 U.S.C. § 2255. Id.   ,r,r 15-31. On May 18, 2022, Diaz filed an Answer to the Complaint.
 2   ECFNo. 17.
 3           On May 20, 2022, the Court issued a Notice of Discrepancy and Order, noting that Diaz's
 4   Answer failed to include a cmTent address, telephone and facsimile numbers, and e-mail address as
 5   required under C.D. Cal. L.R. 11-3.8 and ordering that Diaz file an Amended Answer with the
 6   missing infonnation. ECFNo. 19. On June 24, 2022, Diaz filed an Amended Answer, including an
 7   address located in Beverly Hills, California, a telephone number, and an e-mail address. ECFNo. 24.
 8   However, on July 19, 2022, the Clerk docketed a filing indicating that communications sent from the
 9   Clerk's Office to Diaz at the Beverly Hills address were returned. ECFNo. 27. The envelope was
10   marked "RTS Not at this address." Id.
11          On September 23, 2022, Doe filed the instant Motion to Strike the Amended Answer. ECF
12   No. 29 ("MTS"). On October 17, 2022, the Clerk sent additional communications to Diaz at his
13   Beverly Hills address. ECFNo. 38 (postmarked October 17, 2022). On October 19, 2022, Diaz filed
14   a Notice of Change of Address, indicating that his addressed had changed to a location in Upland,
15   California. ECFNo. 35. On October 25, 2022, the Clerk's October 17, 2022 communications were
16   returned, marked "RTS Not at this address." ECFNo. 38.
17          On October 27, 2022, Doe filed an Application for Entry of Default against Diaz (ECFNo.
18   36), as well as the instant Motion for Default Judgment (ECFNo. 37 ("MDJ")). On November 14,
19   2022, the Comi issued an Order advancing the hearing on the Motion for Default Judgment to
20   December 1, 2022, and ordering Doe to serve on Diaz at his Upland address copies of the Motion to
21   Strike, Motion for Default Judgment, and Application for Entry of Default, as well as notice of the
22   December 1, 2022 hearing on the pending motions. ECFNo. 39. OnNovember 18, 2022, Doe filed a
23   certificate and proof of service with the Court indicating that she had complied with the November
24   14, 2022 Order. ECFNos. 40 ("Certificate of Service"), 41. The Ce1iificate of Service stated that
25   Diaz had been served via U.S. Postal Service certified and priority mail, but that both packages had
26   been returned "because the addressee was not known at the delivery address noted on the package."
27   ECFNo. 40; see also ECFNos. 40-2, 40-4. The Certificate further stated that Diaz had been served
28   via email address, whereupon he replied to the email. See Ce1iificate of Service.


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 2            The Court held oral argument on this matter on December 1, 2022.Counsel for Doe appeared
 3   at the hearing, but Diaz failed to appear.ECF No.44.Later that day, the Court received an ex paiie
 4   communication from Diaz, who asse1ied that he was unaware that the hearing was still taking place
 5   because he believed he had filed a notice ofchange ofaddress and cured the defects raised in the
 6   pending motions.ECF No.43, Ex.A.In response, the Court issued a minute order requiring Diaz to
 7   file any oppositions to the pending motions by no later than December 2, 2022.Id. No such
 8   oppositions were filed. On December 20, 2022, the Cami issued an Order to Show Cause why the
 9   Answer should not be stricken and set a hearing on the OSC for April 13, 2023.ECF No.46.The
10   Court ordered Diaz to file a Notice ofChange ofAddress or Oppositions to the pending Motion to
11   Strike or Motion for Default Judgment by no later than Janumy 31, 2023.Id. On January 31, 2023,
12   Diaz filed a Notice ofEnata RE: Change ofAddress and provided the following address: 250 N.
13   College Park Drive, Unit i13, Upland, CA 91786.ECF No.50.On Febrnary 15, 2023, the Cami
14   ordered Doe to provide notice to Diaz ofthe April 13, 2023 hearing using this new address and to
15   file a proofofservice indicating the date, time, and manner ofservice.ECF No.51.On Febrnmy 21,
16   2023, Doe complied with the Court's order by filing a proofofservice confirming that Diaz was
17   served personally.ECF No.52.
18      II.       Applicable Law
19                A. Motion to Strike Under Federal Rule of Civil Procedure 12(f)
20            Under Federal Rule ofCivil Procedure 12(f), "[t]he comi may strike from a pleading ...
21   any ...immaterial [or] impe1iinent ...matter ...on motion made by a patty." FED. R.Crv.P.12(f).
22                B. Obligation to Provide Adequate Address
23            Under Federal Rule ofCivil Procedure 1 l (a), "[e]very pleading, written motion, and other
24   paper ...must state the [signing party or attorney's] address, e-mail address, and telephone
25   number." FED. R.CIV.P.1 l (a).
26            Similarly, the Local Rules for the Central District of California require that the first page of
27   all documents include, among other things, the filing attorney or party's: (1) address; (2) telephone
28   and facsimile numbers; and (3) e-mail address.C.D.Cal.L.R.11-3.8. The Local Rules fmiher


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 1   require that "any party who has appeared pro se in a case pending before the Court, and who changes
 2   his or her ...office address (or residence address, if no office is maintained) ...must, within five
 3   (5) days of the change, notify the Clerk of Court in writing.If any actions are cmTently pending, the
 4   attorney or party must file and serve a copy of the notice upon all patties." C.D.Cal.L.R.83-2.4.
 5                    C. Motion for Default Judgment
 6                Federal Rule of Civil Procedure 55(b) authorizes a district court to grant default judgment
 7   after the Clerk of the Comt enters default under Rule 55(a).Local Rule 55-1 requires the patty
 8   seeking default judgment to file a declaration establishing: (1) when and against what party the
 9   default was entered; (2) the pleading on which default was entered; (3) whether the defaulting patty
10   is an infant or incompetent person, and if so, whether that person is represented by a general
11   guat·dian, committee, conservator, or other like fiduciaty who has appeared; ( 4) that the
12   Servicemembers Civil Relief Act does not apply; and (5) that the defaulting patty was properly
13   served with notice, if required by FED. R.CIV.P.55(b)(2).C.D.Cal.L.R. 55-1.
14         III.      Discussion
15                   A. Because Diaz has provided the Court with a proper address, the Motion to
16                      Strike the Amended Answer is moot.

17                The Comt has repeatedly requested that Diaz provide a current mailing address to which
18   communications could be sent.On Januaty 31, 2023, he Diaz filed a Notice of Errata RE: Change of
19   Address and provided the following address: 250 N.College Park Drive, Unit i13, Upland, CA
20   91786.Should Diaz's current address change, he is required under Local Rule 83-2.4 to notify the
21   Clerk of Court in writing immediately, but no later than five (5) days of the change and serve a copy
22   of that notice on all patties.C.D.Cal.L.R.83-2.4.The Comt fmther admonishes Diaz that a
23   defective address in the future would likely result in the Court granting any future Motions to Strike
24   and Motions for Default Judgment brought by Doe.
25                Because the updated address appears to be proper and Doe has ce1tified that she was able to
26   successfully serve Diaz, however, the Court DENIES the Motion to Strike the Amended Answer as
27   MOOT.
28   Ill


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